                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF OREGON

       In re: CREATIVE LIGHTING SOLUTIONS, INC.                          §   Case No. 319-34296PCM7
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       KENNETH S. EILER                           , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             BANKRUPTCY COURT CLERK
             US BANKRUPTCY COURT
             1050 SW 6TH AVE., STE 700
             PORTLAND, OR 97204

              Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 23 days from the date of this notice,
       together with a request for a hearing and serve a copy of both upon the trustee, any party whose
       application is being challenged and the United States Trustee. If no objections are filed, the
       Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
       without further order of the Court.



               Date: 08/03/2022                  By: Clerk, U.S. Bankruptcy Court


       KENNETH S. EILER
       PMB 810
       515 NW SALTZMAN RD
       PORTLAND, OR 97229
       kenneth.eiler7@gmail.com




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                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

              In re: CREATIVE LIGHTING SOLUTIONS, INC.                                       §       Case No. 319-34296PCM7
                                                                                             §
                                                                                             §
         Debtor(s)                                                                           §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $         126,581.10

                     and approved disbursements of                                               $          44,324.35
                                                            1
                     leaving a balance on hand of                                                $          82,256.75

                                                          Balance on hand:                                   $              82,256.75
                Claims of secured creditors will be paid as follows:

 Claim          Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
 No.                                                         Asserted       of Claim          to Date                        Payment
   3            Ford Motor Credit                           39,120.74                    0.00                    0.00              0.00
                Company, LLC
   5            Toyota Motor Credit                         31,952.83                    0.00                    0.00              0.00
                Corporation
   9S           Columbia State Bank                       251,139.97                     0.00                    0.00              0.00
   12           Mercedes-Benz Financial                     11,748.92             11,748.92             11,748.92                  0.00
                Services USA LLC
   20S          Columbia State Bank                       251,139.97                     0.00                    0.00              0.00
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              82,256.75

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                         Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - KENNETH S. EILER                                                    9,579.06                     0.00          9,579.06
Trustee, Expenses - KENNETH S. EILER                                                    55.94                    0.00             55.94
Attorney for Trustee, Fees - David W. Criswell                                    10,207.50                      0.00         10,207.50
Attorney for Trustee, Expenses - David W. Criswell                                    358.69                     0.00            358.69

                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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Accountant for Trustee, Fees - BENNINGTON                               5,967.00                0.00       5,967.00
MOSHOFSKY PC
Accountant for Trustee, Expenses - BENNINGTON                              36.75                0.00           36.75
MOSHOFSKY PC
Fees, United States Trustee                                               325.00                0.00          325.00
                              Total to be paid for chapter 7 administration expenses:       $           26,529.94
                              Remaining balance:                                            $           55,726.81

                Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
Attorney for D-I-P Fees - Motschenbacher & Blattner LLP               49,845.00                 0.00      49,845.00
Attorney for D-I-P Expenses - Motschenbacher & Blattner                 3,996.71                0.00       3,996.71
LLP
                              Total to be paid for prior chapter administrative expenses:   $           53,841.71
                              Remaining balance:                                            $            1,885.10

              In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $2,748.03 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
 Claim         Claimant                                       Allowed Amount Interim Payments            Proposed
 No                                                                  of Claim          to Date           Payment
   13P-2       ODR Bkcy                                                 2,748.03                0.00       1,885.10
                                                  Total to be paid for priority claims:     $            1,885.10
                                                  Remaining balance:                        $                0.00
               The actual distribution to wage claimants included above, if any, will be the proposed
         payment less applicable withholding taxes (which will be remitted to the appropriate taxing
         authorities).




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            Timely claims of general (unsecured) creditors totaling $ 3,458,031.90 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Portland General Electric                                 635.82                 0.00              0.00
  2            Creative Lighting Solutions Inc.                       60,475.22                 0.00              0.00
  4 -2         IRS                                                         0.00                 0.00              0.00
  6            Main Electric Supply Company, LLC                    669,257.57                  0.00              0.00
  7            PAPE'                                                  18,017.09                 0.00              0.00
  8            Big Leaf Networks                                         483.75                 0.00              0.00
  9U           Columbia State Bank                                  612,595.83                  0.00              0.00
 10            Columbia Brands USA, LLC                             669,257.57                  0.00              0.00
 11 -2         Christenson Electric, Inc.                             64,994.06                 0.00              0.00
 14            JH Kelly, LLC                                          34,803.15                 0.00              0.00
 16            GLOBALUX LIGHTING LLC                                   6,623.44                 0.00              0.00
 17            Aleddra Inc.                                           37,355.00                 0.00              0.00
 18            Northwest Textbook Depository Co.                       1,680.00                 0.00              0.00
 19            Columbia Brands USA, LLC                             669,257.57                  0.00              0.00
 20U           Columbia State Bank                                  612,595.83                  0.00              0.00
                              Total to be paid for timely general unsecured claims:         $                0.00
                              Remaining balance:                                            $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                              Total to be paid for tardy general unsecured claims:          $                0.00
                              Remaining balance:                                            $                0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 136.85 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
 13U-2         ODR Bkcy                                                      136.85                 0.00                 0.00
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/KENNETH S. EILER


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             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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